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UNITED STATES DISTRICT COURT Beaty me Bo

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DISTRICT OF SOUTH DAKOTA

CENTRAL DIVISION
SOUTH DAKOTA FARM BUREAU, Civ. No. 99-3018 CBK
INC.; SOUTH DAKOTA SHEEP
GROWERS ASSOCIATION, INC.;
HAVERHALS FEEDLOT, INC.;
SJOVALL FEEDYARD, INC.;
FRANK D. BROST; DONALD TESCH;
WILLIAM A. AESCHLIMANN;
SPEAR H. RANCH, INC.; MARSTON
HOLBEN; MARSTON AND MARIAN
HOLBEN FAMILY TRUST; MONTANA-
DAKOTA UTILITIES COo.;
NORTHWESTERN PUBLIC SERVICE;
and OTTER TAIL POWER COMPANY,

Plaintiffs,

Vv. DEFENDANTS' TRIAL BRIEF

JOYCE HAZELTINE, in her
official capacity as Secretary
of State of South Dakota, and
MARK W. BARNETT, in his
official capacity as Attorney
General of South Dakota,

Defendants,
and

DAKOTA RURAL ACTION and SOUTH
DAKOTA RESOURCES COALITION,

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Defendant-Intervenors.

A. Summary of the Case.

This case concerns state regulation of certain business
organizations’ conduct of farming. Sections 21 through 24 of
Article XVII of the South Dakota Constitution are constitutional
amendments adopted by vote on an initiated measure. The

amendments became effective November 16, 1998, and have been

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referred to in this litigation as "Amendment E," a reference to
their placement on the 1998 ballot. The amendments prohibit
certain business structures from farming and owning farmland.
S.D. Const. art. XVII, § 21. The business structures involved
(corporations, limited partnerships, limited liability
partnerships, business trusts, and limited liability companies)
are entities already regulated by the State. see, @.9., SDCL
titles 47 and 48. Such business structures are artificial beings
that exist only as permitted by law, and possess "only those
properties which the charter of its creation confers upon it,
either expressly, or as incidental to its very existence."

Trustees of Dartmouth Colledge v. Woodward, 4 Wheat 518, 636, 4

L.Ed. 659 (1819) (discussion regarding corporations).

The Plaintiffs challenge Amendment E's constitutionality
under the commerce, equal protection, and due process clauses of
the United States Constitution.’ The Plaintiff Utilities’ claims
that are unique are addressed separately below.

B. Constitutional Standard of Review.

A statute will be upheld unless its unconstitutionality is

shown beyond a reasonable doubt. Knowles v. United States, 829

* The Complaint also asserted that Amendment E violated the

Americans with Disabilities Act. This Count was dismissed for
lack of subject matter jurisdiction on September 14, 2000.

Doc. 93. Also, a privileges and immunities claim was raised by
Plaintiffs Marston Holben and the Marston and Marian Holben
Trust. This claim was dismissed for lack of Standing. Doc. 93.
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F. Supp. 1147 (D.S.D. 1993), aff'd in part and questions
certified, 29 F.3d 1261 (1994), rev'd in part, 91 F.3d 1147 (8th
Cir. 1996); South Dakota Fducation Ass'n, et al vi Barnett, et
al., 1998 S.D. 84, § 22, 582 N.W.2d 386, 392; AFSCMR Local 1922
¥.South Dakota, 444 N.W.2d 10, 14 (S.D. 1989), Although the

present action involves a state constitution provision, the State

submits that the "reasonable doubt" standard applies here too.
The Supreme Court has held that the "purpose" or "legitimate

end" of state legislation should be considered in various types

of constitutional challenges such as those raised here. Village

of Arlington Heights v. Metropolitan Hous. Dey. Corp., 429 U.S.

252 (1977) (equal protection); Washington v. Davis, 426 U.g. 229

(1976) (equal protection); Lemon v. Kurtzman, 403 U.S. 602 (1971)

(First Amendment challenge); Personne] Adm'r v. Feeney, 442 U.S.

256 (1979) (equal protection); Kassel v. Consolidated Freightwavs

Corp., 450 U.S. 552 (1981) {commerce clause); SDDS, Inc. v. South
Dakota, 47 F.3d 263 (8th Cir. 1995) (commerce clause).

However, evidence of the specific motives and intent of
individual drafters or legislators is generally not permissible
to prove the "purpose" of the challenged legislation.

Expressions made by individual legislators should not substitute

for the intent of the Legislature (or in this case the electorate
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itself) as a whole.* Cummings v. Mickelson, 495 N.W.2d 493, 499

n.7 (S.D. 1993) (individual members may have diverse reasons for

a proposition and evidence of a draftsman is not competent to aid

a court). See also Palmer v. Thompson, 403 U.S. 217, 224-25

(1971) (individual motives of local decision makers should not be

considered because even if impermissible motives operated to
invalidate legislation, the legislation could be valid as soon as

it was passed again based on valid motives); United States vy

O'Brien 391 U.S. 367, 383-384 (1968) (relying on motives of
individual congressmen is problematic because motives may vary

among legislators); Government Suppliers Consolidating Services.

Inc. v. Bayh 753 F. Supp. 739, 769 (S.D. Ind. 1990) (motives of
individual legislators are irrelevant). "Purpose" must, as
discussed infra, be determined by the objective intent of the
voters as evidenced by prior law, information generally available
to the public such as government statistics and studies, academic
research, and traditional forms of legislative history. It is
the objective knowledge and purpose of the voters enacting

Amendment E that must be determined here, not the subjective

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In SDEA, the State Supreme Court relied on affidavits submitted
by legislative leaders. Justice Gilbertson, concurring,
explained that these statements of individual legislators were
not used to ascertain the intent of the legislative body as a
whole. Instead, "this documentation was provided as background
as to the nature of the problem and why and how the legislature

sought to address it." 582 N.W.2d at 397. He Stated that "the
Legislature does not address a problem in an evidentiary vacuum."
Id.
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purpose and intent of the individuals involved in drafting
Amendment E.

C. The History of Corporate Farming Regulation.

The constitutional provisions established by Amendment E are
not unique and, in fact, have a historical basis. Prior to
Amendment EH, anticorporate farming laws had been enacted in a
number of states, including South Dakota. SDCIL ch. 47-39A; Towa
Code Ann. § 172C.4; Kan. Stat. Ann. § 17-5904; Minn. Stat. Ann.
§ 500.24(1) (c}; Mo. Ann. Stat. § 350.015; N.D. Cent. Code
§ 10-06-01; Wis. Stat. Ann. § 182.001(1) (a). Indeed, the
Nebraska voters adopted provisions similar to Amendment E in
their state constitution in 1982. Neb. Const. art. XII, § 8.
Oklahoma also has a constitutional provision and legislation
prohibiting corporate farming. Okla. Const. art. XXII, § 2;
Okla. Stat. Ann. tit. 18, § 951.

The purpose of the Nebraska anticorporate farming law (a

measure very similar to the one at bar) was described by the

Eighth Circuit Court of Appeals in MSM Farms, Inc. vy Spire, 927

F.2d 330, 332-33, cert, denied, 502 U.S. 814 (1991):

[T]he Nebraska law was intended to address the social
and economic evils supporters perceived as related to
corporate farming. According to evidence presented by
defendant-intervenors, Supporters of the Nebraska
initiative believed that a rise in corporate farming in
Nebraska would lead to the decline of the family
farmer, who would be unable to compete fairly with the
ability of corporations to raise capital and benefit
from the tax laws. Supporters further maintained that
corporate farming would lead to absentee landowners and
tenant operation of farms, would adversely affect the
rural social and economic structure, and would result
in decreased stewardship and preservation of soil,
water and other natural resources. ... [N]ot only
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would family farmers find their situation vastly
changed if concentrated or corporate farming were to
prevail throughout the country, but... firms
supplying the farmer/producer, firms marketing and
processing farm products, rural communities, and
consumers would also be affected.

(Citations omitted.)

This problem--the changing face of agriculture in the United
States and the diminishing number of family farmers--is
unquestionably real, and has long been recognized at the federal
level. The United States Department of Agriculture has studied
and reported this threat to the family farmer and rural way of
life. A Time to Choose: Summary Report on the Structure of
Agriculture. USDA. Washington, D.C. January 1981. In January
1998, the United States Department of Agriculture National
Commission on Small Farms issued a report entitled, "A Time to
Act." The Commission noted:

When Secretary Bergland's report, A Time to Choose, was

published, it warned that ". . . unless present
policies and programs are changed so that they counter,
instead of reinforce or accelerate the trends towards
ever-larger farming operations, the result will be a
few large farms controlling production in only a few
years,"

Looking back now nearly 2 decades later, it is evident
that this warning was not heeded, but instead, policy
choices made since then perpetuated the structural bias
toward greater concentration of assets and wealth in
fewer and larger farms and fewer and larger
agribusiness firms.

Today we have 300,000 fewer farmers than in 1979, and
farmers are receiving 13 percent less for every
consumer dollar. Four firms now control over

80 percent of the beef market. About 94 percent of the
Nation's farms are small farms, but they receive only
41 percent of all farm receipts.
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Like most major industries, the ownership and control

over agricultural assets is increasingly concentrated

in fewer and fewer hands. Farmers have little to no

control over setting the price for their products. The

basic tenets of a "competitive" market are less and

less evident in crop and livestock markets today.
ATime to Act, USDA National Commission on Small Farms,
Washington, D.C. (1998), at Executive Summary.

This problem has also been recognized by the South Dakota
Legislature. In 1974, the South Dakota Legislature enacted the
Family Farm Act, SDCL ch. 49-9A. These statutes limited
corporate ownership of agricultural land. In enacting this
legislation, the Legislature recognized "the importance of the
family farm to the economic and moral Stability of the state,"
and further recognized that "the existence of the family farm is
threatened by conglomerates in farming." SDCL 47-9A-1.

These statutes concerned the "cultivation of land." A South
Dakota statute was enacted through initiated measure in 1988
amending the Family Farm Act to address confined hog enterprises.
SDCL 47-9A-13.1. This amendment applied only to corporations
that bred, farrowed, and raised Swine. SDCL 47-9A-13.1.

Attorney General Memorandum Opinion 89-05. Swine operations that
did not engage in breeding were still exempt. Thus, since 1974,
the Family Farm Act's corporate farming restrictions applied to
entities cultivating farmland and entities operating some swine
facilities. Corporate cattle and sheep producers (and some swine
enterprises) are not restricted by SDCL ch. 47-9A,

During roughly the same period, agricultural land ownership

and livestock ventures changed from traditional agricultural
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business structures (single proprietorship and partnerships) to
business structures such as limited liability corporations and
other types of corporations. From 1978 to 1997, the number of
farm corporations in South Dakota increased from 776 to 1298.
1897 Census of Agriculture, vol. 1, pt. 41, South Dakota State
and County Data, tbl. 1. While the number of corporations grew,
the number of farms declined. By 1997, South Dakota had
approximately 14,500 fewer farmers than in 1969. Id. The number
of farm operators (by principal occupation) in South Dakota fell
from around 36,821 in 1974 to approximately 22,704 in 1997. Id.

It will be shown at trial that this situation formed the
background of Amendment E. This background, along with the
anticipated adverse effect on family farms and local communities
discussed infra, constitutes the purpose of Amendment E.

D. Equal Protection.

Count III of the Amended Complaint challenges Amendment E
under the Equal Protection Clause. Amended Complaint 4 31. The
equal protection clause of the Fourteenth Amendment mandates that
no person’ be denied the equal protection of the law. This
clause, however, coexists "with the practical necessity that most

. legislation classifies for one purpose or another, with resulting
disadvantage to various groups or persons." Romer v. Evans, 517

U.S. 620, 631 (1996). The Romer Court explains that this

* A corporation is a "person" under the Fourteenth Amendment and

under equal protection analysis. MSM Farms v. Spire, 927 F.2d
330, 332, cert. denied, 502 U.S. 814 (8th Cir. 1991).
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dichotomy between "the principle with the reality" is reconciled
by the test applied to equal protection analysis. Id. Under
this test, if a law neither burdens a fundamental right nor
targets a suspect class, it will be upheld so long as it bears a
rational relationship to some legitimate end. Central

State University v. American Association of University

Professors, 526 U.S. 124, 127-28 (1999); Romer, 517 U.S. at 631;

City of Cleburne v. Cleburne Living Center, Inc., 473 U.S. 432,

440 (1985). Legislation which employs a suspect classification
or impinges on a fundamental constitutional right merits stricter
scrutiny and will survive only if it is narrowly tailored to
serve a compelling governmental interest. Id.

Plaintiffs here have not alleged that Amendment E targets a
Suspect classification. Doc. 135 at 5. Plaintiffs also did not
allege in the Amended Complaint that Amendment E burdens a
"fundamental right." Thus, the equal protection analysis

applicable to this case is whether Amendment & bears a rational

relation to some legitimate end. United States v. Mound, 149
F.3d 799, 801 (8th Cir. 1998), cert, denied, 525 U.S. 1089 (1999)
(equal protection challenge to Federal Rule of Evidence 413); Von

Kerssenbrock-Praschma v Saunders, 121 F.3d 373, 378 (8th Cir.

1997} (legislation prohibiting transfer of farmland to aliens).
The question therefore at issue in this case is what the

“legitimate end" of Amendment E is, and whether it bears a

rational relationship to that end. As is obvious, Article XII,

Section 8 of the Nebraska Constitution was the model for
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Amendment E. Nebraska's provision has been determined by the
Bighth Circuit to bear a rational relationship to the legitimate

end of protecting family farms. MSM Farms, 927 F.2q at 333. The

Eighth Circuit stated:

It is up to the people of the State of Nebraska, not
the courts, to weigh the evidence and decide on the
wisdom and utility of measures adopted through the
initiative and referendum process. See [Minnesota y.]
Cloverleaf Creamery, 449 U.S. [456], 469, 101 8.ct.
[715], 726 [1981]. Whether infact the law will meet
its objectives is not the question: the equal
protection clause is satisfied if the people of
Nebraska could rationally have decided that prohibiting
non-family farm corporations might protect an
agriculture where families own and work the land. Id.
at 466, 101 S.Ct. at 725

MSM Farms, 927 F.2d at 333 (emphasis in original). Protection of
family farms by prohibiting nonfamily farm corporations and
syndicates is thus a legitimate end.

The evidence in this case will show that Amendment E was
addressed to this legitimate end. Evidence will demonstrate that
Amendment E was proposed by a group of individuals and groups
(including Dakota Rural Action, South Dakota Resources Coalition,
and South Dakota Farmers Union) to restrict limited liability
business structures from farming or owning farmland. Evidence
will show that the "evil" sought to be remedied by this
restriction is to prevent the consequences of the accumulation of
capital, and commensurate expansion, by limited liability
entities. The use of limited liability business structures has
resulted in concentration in agriculture, and the commensurate

decline in family farmers.

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Dr. Linda Lobao, an expert sociologist testifying on behalf
of Defendants, reviewed the professional literature concerning
corporate* farming. She will testify that public concern about
the consequences on communities of nonfamily owned and operated
industrialized farms dates back to the 1920s. This issue has
been investigated by government and academic researchers since
the 1930s. Sociological evidence shows a trend that large-scale,
industrialized farms have adverse impacts on different indicators
of community well-being, such as socioeconomics, the "social
fabric" of communities, environmental threats where livestock
production is concentrated, and a new pattern of "haves and have
nots" in terms of agricultural production, whereby some
communities gain large, industrialized farms (and attendant
social problems) and others lose their farming base as production
becomes concentrated elsewhere.

This legitimate end is most clearly manifested by the "Pro-
Con Statement." The Pro-Con Statement on Amendment E was widely
published to voters by the South Dakota Secretary of State as
required by SDCL 12-13-23. In SDDS, Inc., 47 F.3d at 268, the

Eighth Circuit held that such a Pro-Con Statement was

“Dr. Lobao's testimony will refer to "industrialized farming"
rather than "corporate farming." She uses the term to mean a
nonhousehold-based farm production unit, with absentee ownership
and control over production factors, as is, inter alia, a
nonfamily farm corporation or syndicate. Along with scale
(size), legal status as a corporation or syndicate is an
organizational variable measured and investigated by social
scientists when they research "industrialized farming."

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“legislative history" of an initiated measure.* Here, the Pro
Statement states in part:

[L]arge non-family farm corporations increasingly
threaten our traditional rural way of life.
Constitutional Amendment E gives South Dakota voters
the opportunity to decide whether control of our
state's agriculture should remain in the hands of
family farmers and ranchers or fall into the grasp of a
few, large corporations.

Constitutional Amendment E is a logical extension of
South Dakota's 1974 Family Farm Act and the 1988
amendment prohibiting non-family farm corporation
ownership of pork production facilities. The amendment
is almost identical to popular and successful
constitutional provisions approved by voters in our
neighboring state of Nebraska more than 15 years

ago. .

Constitutional Amendment E expands and strengthens our
anticorporate farming statutes with an additional
prohibition of non-family farm, corporate ownership of
livestock.
Passage of Constitutional Amendment E will reaffirm
South Dakota's commitment to family agriculture. More
importantly, it will prevent large, non-family farm
corporations from using unfair, anticompetitive
advantages to turn independent family farmers and
ranchers into a new generation of sharecroppers.
Further, a South Dakota circuit court has determined the
purpose of Amendment E in construing the "business trust"
language of Section 21 of Amendment E. The circuit court in
Knittel v. South Dakota, Sixth Judicial Circuit, Civ. 99-45,
determined: "These statements [the "Pro-Con Statement" for

Amendment E] make it clear that §§ 21 and 22 were designed to

protect the environment, maintain the rural way of life, and help

° The Eighth Circuit recognized that the document, as in this

situation, was drafted by individual citizens and not developed
or edited by the State itself.

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family farmers compete in the marketplace." Knittel, Memorandum
Decision, at 12, (May 31, 2000) (attached as Appendix A). This
State court determination of Amendment E's purpose is persuasive.

Plaintiffs allege, contrary to the above, that Amendment &
was adopted for an illegitimate end or purpose. This argument is
presumably based on some alleged subjective intent of the
drafters of Amendment E, not the objective purpose of the voters
who adopted Amendment E. If evidence is allowed on the
subjective intent of the drafters, it is expected that they will
testify that their intent and motives differed. However, as
described above, subjective motives of the drafters are not
necessarily the motives of the individual voters who adopted
Amendment E. Government Suppliers, 753 F. Supp. at 769. See
also Palmer, 403 U.S. at 224, 225; O'Brien, 391 U.S. at 383-84.
Amendment E was passed by individual voters not involved in its
drafting, and it is their objective intent that must be
determined from the information generally available to the public
such as governmental studies, academic research, and the Pro-Con
Statement. The evidence at trial will demonstrate that
Amendment E did indeed have a legitimate end, and bears a
rational relationship to that end.

Plaintiffs also allege that "classifications" are
established by the exemptions in Amendment E (Section 22 of
Article XVII} which are not related to any legitimate end. For

example, Section 22(7) exempts from Amendment F "land leases by

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alfalfa processors for the production of alfalfa." This
classification, however, relates directly to the goal of
Amendment E. Leases to corporations or syndicates for alfalfa
production do not threaten the continued existence of family
farms. Neither do the use of agricultural land for growing seed,
nursery plants, or sod (Section 22(8)), or custom spraying,
fertilizing, or harvesting (Section 22(14)), threaten the
continued existence of the family farm. The classifications
established by the exemptions created by Section 22 of
Amendment E are rationally related to the legitimate end of
protecting family farms.

E. Commerce Clause.

The commerce clause, on its face, is a grant to Congress of
the power to regulate commerce among the states. U.S. Const.
arc. I, § 8, cl. 3. However, it is interpreted to also prohibit
the states from taking certain actions regarding interstate
commerce (absent congressional authorization). Camps

Newfound/Owatonna, Inc. v. Town of Harrison, 520 U.S. 564, 571

(1997); CTS Corporation v. Dynamics Corporation of America, 481

U.S. 69, 87 (1987). In this "dormant" aspect, the commerce
clause "prohibits economic protectionism--that is, 'regulatory

measures designed to benefit in-state economic interests by

burdening out-of-state competitors.'" Fulton Corp. _v. Faulkner,
216 U.S. 3245, 330 (1996) (citing Associated Industries of Mo. yv.

Lohman, 511 U.S. 641, 647 (1994) (quoting New Energy Co. of Ind.
w.timbach, 486 U.S. 269, 273-74 (1988))).

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1, Commerce Clause Analysis.

The principal state regulation subject to dormant commerce
clause analysis is that which discriminates against interstate
commerce. CTS, 481 U.S. at 87. A state statute may do this
either by discriminating against out-of-state economic interests
or by benefiting in-state interests. Alliance for Clean Coal v
Bayh, 888 F. Supp. 924, 934 (S.D. Ind. 1995); Bacchus Imports,
Ltd. v. Dias, 468 U.S. 263, 273 (1984).

This limitation on state regulatory power is not absolute.
The states retain authority under their general police powers to

regulate matters of legitimate local concern even though

interstate commerce is affected. Alliance for Clean Coal, 888 F.

Supp. at 935; Lewis v. BT Inv. Managers, Inc,, 447 U.S. 27, 36

(1980); Maine vy. Taylor, 477 U.S. 131, 138 (1986). "The fact

that the burden of a state regulation falls on some interstate

companies does not, by itself, establish a claim of

discrimination against interstate commerce." Exxon Corp, vv.

Governor of Maryland, 437 U.S. 117, 126 (1978). See also

Minnesota v. Clover Leaf Creamery Co, 449 U.S. 456, 471-72 (1981)

(rejecting a claim of discrimination because the challenged
statute "'regulates evenhandedly' . . . without regard to whether
the [commerce came] from outside the State").

Discrimination may take one of three forms. The law may be
discriminatory on its face, may have a discriminatory purpose, or
may have a discriminatory effect. SDDS, 47 F.3d at 267; Usl

Sanitation v. City of Columbus, 205 F.3d 1063, 1067 (8th Cir.

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2000). "For purposes of the dormant Commerce Clause,
'discrimination' means ‘differential treatment of in-state and
out-of-state economic interests that benefits the former and

burdens the latter." Id. at 1067; Oregon Waste Systems, Inc, y,

Dep't of Env, Quality of Ore,, 511 U.S. 93, 99 (1994),

When a state regulation is challenged as a violation of the
dormant commerce clause, it will be subjected to one of two
tests, depending on the discriminatory nature of the statute.

One test applies if a law regulates evenhandedly and has
only incidental effects on, and does not overtly discriminate

against interstate commerce. Hampton Feedlot, Inc. v Nixon, 249

F.3d 814, 818 (2001). Under this test, the law will be stricken
only if the incidental effects it imposes upon interstate
commerce are "clearly excessive in relation to the putative local

benefits." Pike v. Bruce Church, 397 U.S. 137, 142 (1970).

If the law overtly discriminates against interstate
commerce, the second test applies: It will be struck down unless
the state can demonstrate "under rigorous scrutiny, that it has
no other means to advance a legitimate local interest." CEA
Carbone, Inc. v. Town of Clarkstown, 511 U.S. 383, 392 (1994);

Hampton Feedlot, 249 F.3d at 818; U&l Sanitation, 205 F.3d at

1067, Indeed, state laws that amount to simple economic

protectionism are virtually per se invalid. Oregon Waste

Systems, 511 U.S. at 99; Philadelphia v. New Jersey, 437 U.S.

617, 624 (1978); United Waste systems of Towa v. Wilson, 189 F.3d

762, 767 (8th Cir. 1999),

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In cases where overt discrimination exists which does not
amount to economic protectionism, the State bears the burden of
justifying the interstate discrimination or burden by showing,
under strict scrutiny, that: (1) local benefits flow from the
challenged law, and (2) nondiscriminatory alternatives, adequate

Co preserve the legitimate local purpose, are not available.
Hughes v. Oklahoma, 441 U.S. 332, 336 (1979); Hunt v. Washington
State Apple Advertising Commission, 432 U.S. 333, 353 (1977);

Dean Milk Co, v. City of Madison, 340 U.s. 349, 354 (1951). It

is considered a persuasive or overriding basis for validity when

the state legitimately seeks to further a police power objective

rather than when merely economic interests are at stake.

Carbone, 511 U.S. at 405-6 (concurrence) ; U&l Sanitation, 205

F.3d at 1070.

2. Amendment E Does Not Discriminate Against Interstate
Commerce.

Amendment E must first then be analyzed to determine whether
it discriminates against interstate commerce.

Section 21 of Article XVII (Amendment &) applies to all
corporations and limited liability syndicates doing business in
South Dakota; it prohibits all corporations and syndicates from
owning real estate used for farming or from engaging in farming.
It clearly applies both to in-state and out-of-state corporations
and syndicates. On its face, Amendment E thus regulates
evenhandedly.

This analysis also applies to the effect of Amendment E.

Amendment E's effect subjects both in-state and out-of-state

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corporations and syndicates to its limitations. The issue
becomes whether this effect is only incidental or whether it
disproportionately impacts out-of-state businesses. Plaintiffs
argue that Amendment E's effect is borne most heavily by out-of-
state corporations and syndicates because of the "family farm
exemption" contained in Section 22 of Article XVIT. The family
farm exemption, by requiring that a family member either reside
on the farm or be actively engaged in the day-to-day labor and
management of the farm, is, however, equally restrictive to both
in-state and out-of-state corporations and syndicates.

This will be borne out by the evidence submitted at trial.
Plaintiffs Haverhals Feedlot, Inc., Sjovall Feedyard, Inc.,
Donald Tesch, and William Aeschlimann will testify that both
their in-state and out-of-state customers have been affected by
Amendment E. Further, most of the Plaintiffs are in-state
entities, complaining about the impact of Amendment E on their
business. In fact, the only out-of-state Plaintiff in this case,
Spear H Ranch, complies with Amendment E as all the day-to-day
labor during the months in which the ranching occurs® is provided
by Marston Holben, a family member; therefore, this out-
of-state corporation complies with the family farm exemption of
Amendment E. The evidence will demonstrate that out-of-state

corporations do not bear an unequal portion of the effect of

* Nothing in Amendment & requires day-to-day involvement in

ranching if the nature of the business does not require day-to-
day work at all.

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Amendment E; Amendment E's effects on interstate commerce are
thus incidental.

The next issue is whether Amendment E is a measure designed
to economically protect in-state businesses to the detriment of
out-of-state businesses. It clearly is not. Amendment E's
purpose, as most clearly expressed in the "Pro-Con Statement" and
as determined by a South Dakota circuit court, see supra, is to
protect family farms and the environment and to maintain the
rural way of life. It is thus not designed for economic
protection of in-state businesses (as should be clear from the
testimony of the Plaintiff businesses), neither helping in-state
syndicates nor placing additional burdens on out-of-state
syndicates.

Tt is anticipated that Plaintiffs will argue that the
drafters of Amendment E were indeed motivated by economic
protectionism or other discriminatory purpose, based upon
Plaintiffs' characterization of the drafters' purpose and intent.
As discussed supra, the subjective motive and intent of the
drafters of Amendment E is not determinative of the objective
motive and intent of Amendment E. As a result, this evidence
does not establish that Amendment EF is an economic protectionist
measure or was enacted for other discriminatory purposes.

Therefore, Amendment E regulates evenhandedly with only
incidental effects on interstate commerce. The test to be
applied is whether the local benefits of Amendment EF are

outweighed by its burdens on interstate commerce.

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3. The Burden Imposed By Amendment FE Upon Interstate
Commerce Ts Not Excessive in Relation to Its Local
Benefits.

It is beyond dispute that legislation that promotes or
protects South Dakota agriculture is a valid local benefit and a
reasonable exercise of police power under South Dakota law. In

in_re Request for an Advisory Opinion, 387 N.W.2d 239, 243 (S.D.

1986), the South Dakota Supreme Court recognized that the plight
of agriculture seriously affects the State's economy:

Measures to promote and protect a state's major

industry are within a state's police powers. "[I]t

cannot be reasonably contended that the protection and

promotion of [South Dakota's agriculture economy] is

not a matter of public concern or that the Legislature

may not determine within reasonable bounds what is

necessary for the protection and expedient for

promotion of that industry."

(Citations omitted.) The issue is whether this local benefit is
outweighed by its burdens on interstate commerce.

The claimed burden of Amendment E upon interstate commerce
is the impact on out-of-state corporations and syndicates of
Amendment E's restriction on owning farmland and operating a
farm.

However, restrictions on corporate ownership of farmland
have long been in place in other states. In Nebraska,
constitutional provisions very similar to Amendment E restrict
the same activities by corporations and syndicates conducting
business in Nebraska. See MSM Farms. Other states have also
prohibited corporate ownership of farmland and corporate farming

activities; gee Supra at 5. Amendment E therefore does not

impose a new burden on the interstate activities of corporations

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and syndicates. They have long been prohibited from farming or
owning farmland in many states.

Further, Amendment E was not the first South Dakota
restrictions on corporate farming activities. SDCL ch. 47-9A,
the Family Farm Act, prohibited corporate farming and the
corporate ownership of farmland. SDCL 47-9A-3. See supra at
8-9.

Therefore, Amendment E imposes little more impact on
interstate commerce than has already been established by law.
This burden cannot be deemed excessive, especially in light of
the local benefits of Amendment E. These benefits, which will be
described in testimony and are also established by the "Pro-Con
Statement" of Amendment E, the circuit court decision discussed,
Supra, and even by the Eighth Circuit in MSM Farms, are the
protection of the family farm, the environment, and the rural way
of life. Such local benefits are clearly extremely important to
a rural state such as South Dakota.

Amendment E therefore, even with its incidental effects on
interstate commerce, does not burden interstate commerce in
excess in relation to its local benefits of protecting family
farms. As such, under Pike, 397 U.S. 137, Amendment E does not

violate the commerce clause.

4, In the Alternative, Amendment EF Also Satisfies the
Second Commerce Clause Test.

If the Court determines that Amendment E does discriminate
against or burden interstate commerce, it still satisfies the

"strict scrutiny" test. The legitimate local purpose served by

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Amendment E, described above, is the protection of the family
farm and rural way of life. The evidence at trial will also show
that nondiscriminatory alternatives were attempted and failed to
provide adequate protection for family farms. S$DCL ch. 47-9A,
which restricts corporate farming activities, has been in effect
since 1974 and has not stemmed the trend toward larger corporate
farms and fewer family farms. Other alternatives, such as
restricting the size of farms, affect interstate commerce in the
same manner as Amendment E; they would apply to both in-state and
out-of-state corporations and syndicates just as does

Amendment E. Legislation or constitutional amendments which
prohibit vertical integration by corporations and syndicates
would in effect act almost entirely on out-of-state businesses,
as in South Dakota it is out-of-state businesses that have the
Capital and power to vertically integrate. Such legislation
would burden interstate commerce far more than does Amendment E,
and may indeed be viewed as per se economic protectionism.

Other alternatives include the promotion of farmer
cooperatives for sharing capital, expenses, and marketing
opportunities in order to compete with corporate farms is another
alternative. Historically, these organizations have been
encouraged and have not halted the changes in land ownership and
livestock management.

Another alternative would be an "excess land tax," whereby
corporate farms would be required to pay more property tax than

smaller farms. This alternative may make the cost of doing

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business higher for corporations, but would not address the
problem of consolidation of farms, declining numbers of family
farmers, and adverse changes in communities.

Thus, Defendants submit that no alternatives exist that
would accomplish the goals involved here and that would have less
of an impact on interstate commerce than does Amendment E. Ag
such, even under the strict scrutiny test, Amendment E does not
violate the commerce clause.

F. Due Process.

Plaintiffs allege that Amendment E violates the Fourteenth
Amendment to the United States Constitution and Article VI,
Section 2 of the South Dakota Constitution. It appears that
these allegations pertain to both substantive and procedural due
process.

1. Substantive Due Process Claims Are Not Actionable When
Explicit Textual Protections Are Otherwise Available.

The Plaintiffs' allegations (particularly those of the
utilities) regarding substantive due process appear to make a
takings claim. For example, the Big Stone partners allege that:
"The value of at least one existing generating plant, the Big
Stone Plant, has been materially diminished ... ." Amended
Complaint 4 5. Further, the utilities intend to present
testimony on actual damages incurred as a result of Amendment E.
The proposed testimony of Ralph Brown relates exclusively to
monetary damages. Some of the other Plaintiffs may also offer
similar testimony on monetary damages. It appears they intend to

pursue the substantive due process claims as either a substitute

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for or precursor to a state takings case. This is not
permissible.

Substantive due process claims are not actionable when
explicit textual arguments can be made under the Bill of Rights.

Albright v. Oliver, 510 U.S. 266, 273 (1994) (Fourth Amendment

analysis used instead of the more generalized substantive due
process); Portuonda v. Agard, __iULS. _, 120 S.Ct. 1119, 146
L.Ed.2d 47 (2000) {analysis under Fifth and Sixth Amendments
rather than generalized notion of substantive due process);
Smithson v. Aldrich, 235 F.3d 1058, 1064 (8th Cir. 2000) (Fourth
Amendment). When the allegations assert conduct that isa
"taking" claim, such assertions are to be heard as Fifth
Amendment claims rather than substantive due process issues.
Macri vy. King County, 126 F.3d 1125 (9th Cir. 1997); Armendariz
v.tPenman, 75 F.3d 1311, 1320 (9th Cir. 1996). Moreover,
substantive due process claims cannot operate as a loophole to
avoid jurisdictional prerequisites for takings claims. Macri,
126 F.3d at 1129. Since Fifth Amendment "takings" claims must be
first heard in state court, it is improper to consider the same
claims in federal court under the guise of a substantive due
process claim. Id. at 1129; Madison v. Graham, 126 F. Supp. 2d
1320 (D. Mont. 2001).

2. Amendment E Ts Rationally Related to a Legitimate State
Interest.

A violation of a substantive due process right occurs when
"government officials use their power in such an arbitrary and

oppressive way that it ‘shocks the conscience.'" Entergy,

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Arkansas, Inc, v. Nebraska, 241 F.3d 979 (8th Cir. 2001). A

statute that is rationally related to a legitimate state interest
cannot be "truly irrational." Wellwood v. Johnson, 172 F.3d
1007, 1010 (8th Cir. 1999). An example of what constitutes
"truly irrational" action is a regulation "applying only to
persons whose names begin with a letter in the first half of the

alphabet." Chesterfield Development Corp. vw. City of

Chesterfield, 963 F.2d 1102, 1104 (8th Cir. 1992).

As discussed above, Amendment E has a rational relationship
to the State's interest in maintaining family farms and farm
communities, and is not a violation of substantive due process
rights.

Plaintiffs may claim a substantive due process violation
arises from the initiated measure process itself. However, cases
invalidating citizen voting processes under a substantive due
process analysis do not apply here. Those cases are "delegation"
cases where a governmental entity relegates its decision-making
authority to a group of local voters without articulating
Standards for exercising that function. Here, the voters
exercised power reserved to the people in the state constitution.
There was no delegation. See Bastlake v. Forest City

Enterprises, Inc., 426 U.S. 668, 676 (1976).

For these reasons, as well as those set forth in the

foregoing analysis pertaining to the equal protection clause,

Amendment E is not a substantive due process violation.

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3. The Adoption of Amendment E Did Not Violate Plaintiffe!
Procedural Due Process Rights.

As stated above, the Amended Complaint contains general
allegations regarding denial of due process and does not specify
whether such allegations are intended to focus on procedural or
substantive due process. In opposing the Defendant-Intervenors'
Motion for Partial Summary Judgment, Plaintiffs listed some
purported procedural irregularities in the Amendment E drafting
process.

The first issue raised appears to be the notion that the
constitutional initiative process itself is not adequate or
"normal" in terms of political "give-and-take." In South Dakota,
the initiative process includes several Safeguards for ensuring
that initiated measures are fully subject to debate. Proponents
of such constitutional measures are required to file the full
text of the proposal with the South Dakota Secretary of State
prior to circulation of petitions. SDCL 2-1-6.2. The notice is
public and typically engenders publicity both pro and con.
Petitions, containing the substance of the proposal, are then
circulated. SDCL 2-1-7. The petitions are filed a full year in
advance of the vote. SDCL 2-1-2.1. This period prior to
election day gives the citizens the Opportunity to consider the
arguments pro and con. It provides for Opportunity to read the
various editorials and listen to the debates of all sides. The
Secretary of State is required to prepare and distribute public
information ("Pro-Con Statements") on any constitutional

amendment. SDCL 12-13-23. The Attorney General is required to

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develop a ballot explanation. SDCL 12-13-9. Financial backers
on all sides of the issue are required to disclose their
interests before the election. SDCL 12-25-19.1. All of these
steps provide a very public educational process. The State
submits that this process provides for ample "political give-and-
take" and also educates the public (the decision makers) about
the effect of the proposal.

Although the Plaintiffs assert that this process forecloses
them from "any normal political recourse," they were entitled to
participate in the public debate in 1997 and 1998. In fact,
evidence at trial will show that Plaintiffs Farm Bureau and Frank
Brost were active participants in this process. See Breck v.
Janklow, 2001 S.D. 28, § 26, 623 N.W.2d 449 (contentions over
lack of public input were "meritless" when challenger presented
testimony to the decision makers). Further, Plaintiffs are not
foreclosed from initiating another constitutional measure to
amend or otherwise change the Constitution.

As a second issue, Plaintiffs appear to be asserting that
the drafting process was too hasty and the drafters too
inexperienced. They assert that experts should have been
consulted. It is apparent, however, the drafting process is
different from the decision-making process. It igs the voters who
enacted Amendment E, not the drafters. What the drafters did is
overridden by this legislative process, for the same reasons that

individual legislator's intent is not relevant; see Supra at 4-5,

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As seen, the process for initiated measures provides for the
decision makers to analyze the facts, listen to debate, and
engage in the decision making in a "legislative" proceeding.
Legislative proceedings do not demand formal trial type

proceedings. Association of Nat'] Advertisers v. F.T.C., 627

F.2d 1151 (1979). Decision makers in legislative matters are not
required to analyze factual matters according to any specific
method. Townsend vy. Yeomans, 301 U.S. 441, 451 (1937). Further,
in such due process challenges, "The haste with which an act is
passed cannot be considered in determining its constitutionality
and the court will not look into the motives, wisdom or haste
connected with the passage of statutes; those matters are left to

the legislature." Independent Community Bankers Ass'n v. South

Daketa, 346 N.W.2d 737, 745 (S.D. 1984).

Plaintiffs also allege that they have been denied due
process because Amendment E interferes with "legitimate business
expectations by effectively nullifying existing contracts and
business relationships" for future livestock purchases (Amended
Complaint § 138), and by eliminating the use of forward contracts
(Amended Complaint § 139). Plaintiffs' livestock purchases that
were under contract are exempt from Amendment E under
Section 22(5) for the length of the contract. Thus, only future
contract purchases of livestock that had not been anticipated by
contract prior to the adoption of Amendment E could be affected.
Such future contracts, however, are speculative. Even if they

were not, entities that are regulated by government such as

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corporations and limited liability entities (see supra at 2)
cannot claim that contracts have been impaired by new

governmental regulations. See, e.g., Home Building & Loan Ass'n

v. Blaisdell, 290 U.S. 398, 435-39 (1934) (states retain power to
enact laws which affect contractual rights); Allied Structural
Steel Co, v. Spannaus, 438 U.S. 234, 241 & n.13 (1978).

Further, Amendment E does not impact the use of forward
contracting. Forward contracts are a marketing tool, generally
between the farmer or rancher and a processing facility. The
processing facilities are corporations prohibited from the
ownership, keeping or feeding of livestock more than two weeks
prior to slaughter. Sections 21 and 22(15) of Amendment E. As
will be shown in testimony, the ownership, control, and risk for
the livestock subject to a forward contract remains with the
farmer/rancher and does not transfer to the processing facility
until the livestock is delivered for Slaughter, or, if the sale
is based on grade and yield, until slaughter and grading occurs.
As a result, processing facilities do not violate Amendment F if
they make a forward contract with a farmer/rancher. Amendment E
does not restrict Plaintiffs from continuing to use this
marketing tool.

Amendment E therefore does not violate Plaintiffs'
Fourteenth Amendment due process rights.

G. Utilities.
Northwestern Public Service, Montana-Dakota Utilities, and

Ottertail Power Company (hereinafter referred to collectively as

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"utilities") ¢laim that Amendment E is unconstitutional as
applied to their operations, particularly under the commerce (by
"stifling the generation and delivery of electricity," Amended
Complaint § 5), equal protection, and due process clauses. These
claims appear to be based on the allegation that the utilities
are no longer able to purchase easements on farmland for
transmission lines. Second, the utilities claim that land
purchased jointly (Big Stone property) has decreased in value due
to Amendment E. Third, they claim that they will lose the
ability to compete in the event of possible deregulation. Each
of these three claims should be rejected.

1. Deregulation Issue,

State Defendants previously filed a Partial Motion for
summary Judgment asserting that the electric deregulation
component of Plaintiffs' argument was not ripe for consideration.
Doc, No. 104. In finding that a justifiable controversy exists
as to the transmission line and Big Stone property issues, this
Court held that "questions as to possible deregulation are not
ripe and will not be considered by the Court." Boc. No. 135.

For this reason, additional briefing on the deregulation issue is
not included here, and the State is not expecting that the issue
will be considered by the Court at trial.

2. Transmission Lines.

Neither the express language nor purpose of Amendment E
suggest that Amendment E is intended to involve utility

operations such as transmission lines.

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Amendment E prohibits corporations from doing two things:
(a) engaging in farming and (b) obtaining interests in real
estate used for farming. The utilities are not engaging in
farming; that issue is undisputed. The utilities' claim is that
they own an interest in real estate used for farming through
their easement interest for transmission lines.

While the first section of Amendment E (S8.D. Const.
art. XVII, § 21) prohibits corporations from obtaining an
interest whether "legal, beneficial or otherwise," that section
must be read together with the second section of Amendment E
(S.D. Const. art XVII, § 22). Section 22{4) provides that
interests in land as of the date that Amendment E was approved
are exempt from the provision. This "grandfather provision"
applies only if "such land or other interest is held in
continuous ownership or under continuous lease by the same such
corporation or syndicate," as is arguably the case with the
utilities! current ownership of transmission line easements.

However, the scope of utility easements for transmission
towers does not purport to include the right to exclude others or
control whether or not farming occurs or does not occur on the
right-of-way area. This is consistent with easements in general.
While easements include the legal descriptions of the area
involved, the scope of the easement is "measured and defined by
the purpose and character of that easement; and the right to use
the land remains in the owner of the fee so far as such right is

consistent with the purpose and character of the easement."

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Musch v. H-P Electric, 460 N.W.2d 149, 152 (S.D. 1990) (citing 17
Am. Jur. 993 and Langazo v. San Joaquin Light & Power, 32 Cal.
App. 2d 678, 90 P.2d 825 (1939)). In other words, the fee owner
of the land maintains "dominion and control" over the strip of
land used for a utility easement. Musch, 460 N.W.2d at 152. In
Musch, a tort case, the South Dakota Supreme Court recognized
that the trespass defense was available only to the actual
"possessory space" within the easement area. The utility could
not claim a trespass defense for the whole area described in the
right-of-way document; it could claim the defense only for the
area actually used by the utility within the scope of the
easement, i.e. the space occupied by the pole or tower and
associated guy wires. In the same way, the prohibitions of
Amendment E relate only to the actual possessory space used by
the towers and guy wires themselves. The area used by the towers
and guy wires is not used for farming. Cows may be pastured near
the towers within the right-of-way, but they do not occupy the
Same "possessory space" as towers.

Additional language in Amendment E also supports the
conclusion that the “interest in land" restriction relates only
to situations where the interest includes control over the
agricultural use. For example, Amendment E allows corporations
to hold mineral rights on agricultural land. S§$.D. Const.
art. XVII, § 22(9). Corporations may hold a security interest in

land. §.D. Const. art. XVII, § 22{13}. Custom harvesting

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operations may exercise their statutory "thresher's lien"’
authority to obtain title to crops without running afoul of
Amendment E. §.D. Const. art. XVII, 8 22(14)}. In situations
where the transmission lines are located on agricultural land and
the utilities exercise no control over use of the land for
agricultural purpose, Amendment E does not apply.

Even if the meaning of Amendment E was unclear in this
regard, the result would be the same. If the constitutional
amendment is not clear by its terms, courts are to "look to the
history of the times and examine the state of things existing
when the constitution was framed and adopted, in order to
ascertain the prior law, the mischief, and the remedy." City of
Sioux Falls v. Sioux Falls Firefighters, 234 N.W.2d 35, 37 {S.D.
1975) (citing 16 Am. Jur. 2d Constitutional Law § 87). Accord
South Dakota Auto Club, Inc, v. Volk, 305 N.W.2d 693, 697 (S.D.
1981). In one of the most recent challenges to a South Dakota
constitutional amendment, the Supreme Court considered the
history of lottery regulation, policy statements in previous
legislation, and the fact that a previous constitutional proposal
had been introduced and rejected. Poppen V. Walker, 520 N.W.2d
238, 243-46 (S.D. 1994). The court also considered "the
circumstances under which a constitutional provision was formed,
the general spirit of the times, and the prevailing sentiment of

the people." Id. at 246, 247.

7 SDCL 38-17-14.

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Amendment E was enacted in response to a rural crisis in
agriculture. See supra at 5-10, 12-13. The threat to the family
farm is the issue here; keeping electric utilities from building
transmission lines would be contrary to that purpose.

The legislative history also supports this view. As
discussed above, the only legislative history accepted by the
courts for South Dakota ballot measures is the "Pro-Con
Statement" issued by the Secretary of State. The Pro-Con
Statement did not include any mention of utilities whatsoever.

Based on the language of Amendment E, the circumstances
surrounding its passage, and the accepted legislative history on
this constitutional amendment, it is clear that Amendment FE was
never intended to prohibit utilities from obtaining easements for
transmission lines.

3. The Big Stone Property.

The three utilities formed the Big Stone Partners to build
and operate the Big Stone Power Plant in Grant County. They
jointly own approximately 1,350 acres used for the power plant,
associated railway, and infrastructure to support the plant.

This land is used for industrial purposes and has nothing to do
with Amendment E. They also own adjacent property (552.8 acres)
that they lease to three individual farmers and a partnership for
agricultural use. This part of the property has been held for
future development, including additional electric plant
construction. Due to nearby water and rail facilities, this land

could also be used in the future for commercial or industrial

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development. Evidence will show, for example, that greenhouses,
fish farms, ethanol plants, and a high fructose corn syrup plant
have shown interest in the land in the past.

At present, it is undisputed that these 552.8 acres are
exempt from Amendment E. Amendment E (S.D. Const. art. XVII,

§ 22(4) provides that agricultural land owned by a corporation or
syndicate as of the approval date of the amendment and held in
continuous ownership by the corporation or syndicate is exempt.
The Big Stone Partners owned the 552.8 acres of land in question
on the approval date of the Amendment and have continuously held
the land since that time.

Although they are not harmed for this reason, they are
apparently concerned about the eventual resale value of the land
for development. See supra, discussion of substantive due
process issue. The State submits that such event is speculative
for several reasons. First, the Big Stone Partners have not
eliminated the possibility of developing the property themselves.
Industrial development is not prohibited in any manner by
Amendment E. Second, even assuming that the Big Stone Partners
sell the land, the purchaser may not be a corporation or
syndicate barred from owning agricultural land under Amendment E.
Third, even if such a buyer did purchase the land, that buyer
could lease the land to a qualified family farm corporation, sole
proprietorship, or general partnership for farming for five years
pending development. $.D. Const. art. XVII, § 22(10). Even if

the purchaser took longer than five years to develop the

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property, construction could be started on the property and
farming would not occur anyway.

Thus, while it is possible that Amendment E could have some
effect on the Big Stone Partner's land in Grant County, there is
no effect at present. It is unknown if there will be an effect
in the future, and whether such effect would be more than

incidental.

H. 42 U.S.C. § 1983 Challenge.
The Plaintiffs have further pled that Amendment E violates
42 U.S.C. 1983. This statute does not provide a separate cause

of action (Baker v. McCollan, 443 U.S. 137, 144 n.3, 99 S.Ct.

2689, 61 L.Ed.2d 433 (1979); Johnson y. University of Wisconsin-

Eau Claire, 70 F.3d 469, 481 (C.A.7 1995)), but rather requires a
showing of the constitutional deprivations discussed above. For
the reasons set forth supra, this claim must be rejected.
I. Conclusion.

Defendants therefore submit that the evidence at trial will
substantiate their position that Amendment E is constitutional.

Dated this ak day of November, 2001.

Respectfully submitted,

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APPENDIX A
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STATE OF SOUTH DAKOTA } IN CIRCUIT COURT
Ss.
COUNTY OF GREGORY ) SIXTH JUDICIAL CIRCUIT
MARVIN KNITTEL, ARLA KNITTEL
WURTZ, and JUDITH KNITTE CIVIL 99-45
MEIERHENRY
Plaintiffs, MEMORANDUM DECISION
vs.

STATE OF SOUTH DAKOTA,
Defendant.

The above matter came before this court on February 10, 2000. The
Plaintiffs, Marvin Knittel, Arla Knittel Wurtz and Judith Knittel Meierhenry
appeared in person and with their attorney, Mark Meierhenry of Sioux
Falls, South Dakota. The State of South Dakota appeared by the through
Assistant Attorney General Diane Best of Pierre, South Dakota.

On March 23, 2000 the State of South Dakota submitted its Motion
For Court To Take Judicial Notice. Pursuant to SDCL 19-10-4, and the
Court having received no objection from the Plaintiffs, the court herein
grants the motion, The court takes judicial notice of the following: (1) Pro-
Con Statement for 1998 Constitutional Amendment E; (2) Ownership and
Control of Farmland in the United States; and (3) A Time to Act. The Court
received the final submission by counsel on April 13, 2000.

The court has considered the evidence and testimony herein, together
with the briefs submitted by counsel, and being fully advised in the

premises enters this written memorandum decision.
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Statement of the Facts

On October 5, 1904, Fried Knittel (Fried) filed application #1169 for
homestead of the Southeast Quarter (SE%) of Section 7, Township 96
North, Range 73 West of the 5 Principal Meridian, Gregory County, South
Dakota. Fried and his wife Mary took actual residence in April 1905 and
built a house and buildings and harvested crops. Adoph John Knittel
(Adolph) was born in 1906 on the homestead. Fried published his proof of
homestead in the United States Land Office in Gregory on February 18,
1911.

Fried and Mary set one acre of land in the homestead quarter aside
for the Zion Evangelical Lutheran Church. Additionally, Fried and Mary
purchased the SW of Section 7, adjoining the Knittel homestead, from a
relative, Konstantin Stirm.

Later, Adolph and his wife Anna purchased the SE% and the SW%
quarters of Section 7 from Adolph’s parents, Fried and Mary. Additionally,
Adolph and Anna purchased an adjoining quarter in Tripp County.

Adolph and Anna had three surviving children: Marvin Knittel, Arla
Knittel Wurtz, and Judith Knittel Meierhenry (Plaintiffs). Plaintiffs
purchased their parents’ three quarters of land and currently hold the land
as tenants in common. The Zion Lutheran acre set aside by Plaintiffs’
erandparents, Fried and Mary, is currently a cemetery in which a few
family members are buried. Judith Knittel Meierhenry maintains the

cemetery for approximately $500 per year.
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The Plaintiffs presently cash rent the property through a general
partnership. The person renting the land cultivates some of it and operates
the rest as pastureland. None of the Plaintiffs have lived on the land or
farmed the land since childhood. Additionally, none of the Plaintiffs’ six
children intend to become farmers.

Plaintiffs wish to “create a trust in order to preserve the homestead,
avoid fractional interests, avoid generational estate taxes and other
personal reasons.” (Complaint | 22). Apparently, Plaintiffs intend to
“transfer by warranty deed their undivided one-third ownership each in the
real estate to themselves as trustees for present and future descendants of
the Plaintiffs as a class of beneficiaries.” (Plaintiff's Brief at 8). More
specifically, they intend to name “themselves as original trustees and
provid[e] for replacement trustees upon the death of any Plaintiff.”
{Plaintiffs Brief at 10). Plaintiffs ask this Court to render a declaratory
Judgment on whether the South Dakota Constitution, Art. XVII, §§ 21-24,!

prohibits such a trust.

Legal Standard
This Court’s general power to issue declaratory relief stems from

SDCL 21-24-1.2 The general powers conferred in SDCL 21-24-1 apply to

1 The Court will refer to Article XVII by section number throughout the opinion.

2 “Courts of record within their respective jurisdictions shall have power to declare rights,

status, and other legal relations whether or not further relief is or could be claimed ... The
declaration may be either affirmative or negative in form and effect; and such declaration

shall have the force and effect of a final judgment or decree.” SDCL 21-24-1.
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any proceeding “in which a judgment or decree will terminate the
controversy or remove an uncertainty.” SDCL 21-24-6. Therefore, SDCL
21-24-] authorizes this Court to remove the parties’ uncertainly about the
language of §§ 21 and 22.

Moreover, SDCL 21-24-3 provides that any person whose rights are
affected by a statute or ordinance “may have determined any question of
construction ...arising under the ...statute [or] ordinance ... and obtain a
declaration of rights ...thereunder.” SDCL 21-24-3. SDCL 21-24-3 does
not specifically list “constitution.” However, the Court can see no reason
why SDCL 21-24-3 should not apply to questions of constitutional
interpretation.

Beyond this statutory authority, the Supreme Court has established
four jurisdictional prerequisites for declaratory judgment:

(1) There must exist a justiciable controversy; that is to say, a

controversy in which a claim of right is asserted against one

who has an interest in contesting it; (2) the controversy must

be between persons whose interests are adverse; (3) the party

seeking declaratory relief must have a legal interest in the

controversy, that is to say, a legally protectible interest; and (4)

the issue involved in the controversy must be ripe for judicial

determination.

Boever v. SD Bd. of Accountancy, 526 NW2d 747, 746 (SD 1995) (quoting

Danforth v. City of Yankton, 25 NW2d 50, 53 (SD 1946}}. These

prerequisites insulate a court from “render[ing] advisory opinions or

determin[ing] moot or theoretical questions.” State of North Dakota v.

Perkins County, 9 NW2d 500 (SD 1943).

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In this case, Plaintiffs have presented only general ideas for a
possible trust. Plaintiffs have not drafted an actual trust document for the
State to challenge. Given this shaky procedural foundation, the Court will
examine the above-mentioned jurisdictional requirements in regard to all
issues,3

The first question is whether this action is a justiciable conflict
between adverse parties. In other words, “a controversy in which a claim of
right is asserted against one who has an interest in contesting it.” Boever,
926 NWad at 750. The Court concludes that Plaintiffs have presented a
justiciable conflict on the application of § 21 and 22, but not the merger
iSSUe.

In regard to the merger issue, Plaintiffs claim the doctrine of merger
does not prevent them from naming themselves as original trustees and
providing for replacement trustees upon the death of any Plaintiff.
(Plaintiffs’ Brief at 10). However, the Court will address this claim only if
the State has an interest in contesting it.

The only role of the State in this case is in upholding the
Constitution. As long as the proposed trust does not violate § 21, the State
has no interest in contesting it. Other possible problems with the trust,
ltke merger, are not the State’s concern. Therefore, this Court cannot

decide the merger issue in a declaratory judgment action against the State.

3 The State has challenged jurisdiction on only the merger issue.
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In regard to the application of §§ 21 and 22 to the proposed trust, the
existence of a justiciable conflict between adverse parties is a tougher case.
There is no trust, as yet, for the State to challenge. In addition, the State
agrees that the proposed trust would not violate the constitution.

Certainly, these facts indicate a lack of the adverse interest required for
declaratory judgment.

However, the Supreme Court has recognized “a liberalization of what
constitutes adversely affected parties with interests ...entwined in a
justiciable controversy ... when a determination of present rights is
achievable only by an interpretation which may, to some extent, involve

future contingencies.” Kneip v. Herseth, 214 NW2d 93, 98 (SD 1974)

(emphasis added). Under this analysis, the apparent indifference of the
State is not controlling. Id. at 99. When the State is obligated to enforce a
law which will put it in controversy with another party, even if that
controversy depends on contingencies outside the control of the State,
declaratory judgment should be allowed. Id.

Given these principles, this Court holds that there is a justiciable
conflict between adverse parties regarding §§ 21 and 22. If the trust,
whenever it is drafted, violates § 21, the State will be obligated to mount a
challenge. This potential conflict, although based on future contingencies,
is enough for a justiciable conflict between adverse parties.

Having determined that applicability of §§ 21 and 22 is a justiciable

confiict between adverse parties, the second question is whether the matter
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is ripe for judicial review. “Courts often require adverse claims, based upon
present rather than speculative facts, which have ripened to a state of being
capable of judicial adjustment.” Kneip, 214 NW2d at 96 (emphasis added).
However, a matter is ripe, even though based on future contingencies, if “a
realistic approach, based upon plaintiff's good faith, reflects that conflict is
imminent,” Id. at 99.

After careful review, this Court concludes that the case is ripe for
declaratory judgment. No doubt the dispute in question depends ona
future contingency (the establishment of a trust). However, as pointed out
in the discussion above, there is a possibility of an imminent conflict with
the State if the issues at hand are not resolved.

Moreover, this Court must keep in mind the remedial nature of the
Declaratory Judgment Act. The legislature has directed that the Act’s
“purpose is to settle and to afford relief from uncertainty and insecurity
with respect to rights, status, and other legal relations; and is to be
liberally construed and administered.” SDCL 21-24-14 (emphasis added).
This liberal construction helps “establish guidelines for parties’ actions so
they may keep within lawful bounds, avoid expense, bitterness of feeling,
the disturbance of orderly pursuits and ... foster judicial economy.” Id. at
96. Rendering a declaratory judgment at this point will assure that the
Plaintiffs do not violate our State constitution and is totally consistent with

the purposes of the Act.
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Constitutional Provisions*

Art. XVII § 21: No corporation® or syndicate may acquire, or
otherwise obtain an interest, whether legal, beneficial, or
otherwise, in any real estate used for farming in this state, or
engage in farming ...

[Slyndicate: [I[ncludes any limited partnership, limited liability
partnership, business trust, or limited liability company
organized under the laws of any state of the United States or
any country. A syndicated does not include general
partnerships, except general partnerships in which nonfamily
farm syndicates or nonfamily farm corporations are partners.

[Flarming: Means the cultivation of land for the production of

agricultural crops, fruit, or other horticultural products, or the
ownership, keeping, or feeding of animals for the production of
livestock or livestock products.

Art. XVII_§ 22: The restrictions in § 21 ... do not apply to:

(1) [Flamily farm corporation or syndicate: ...[A] corporation
or syndicate engaged in farming or the ownership of
agricultural land, in which a majority of the partnership
interests, shares, stock, or other ownership interests are held °
by members of a family or a trust created for the benefit of a
member of that family. The term, family, means natural persons
related to one another within the fourth degree of kinship ...or
their spouses. At least one of the family members ...shall reside
on or be actively engaged in the day-to-day labor and
management of the farm. Day-to-day labor and management
shall require both daily or routine substantial physical exertion
and administration. None of the corporation's or syndicate’s
partners, members, or stockholders may be ...other
corporations or syndicates, unless all of the stockholders,
members, or partners of such entities are persons related
within the fourth degree of kinship to the majority of partners,
members, or stockholders ...

4 Style changes for readability.

* Clearly, Plaintiffs do not propose a “corporation” organized under the laws of any state or
country. § 21. Therefore, this opinion addresses only the term “syndicate.”
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(12) Bank as Trustee: Agricultural lands held by a state or
nationally chartered bank as trustee for a person, corporation
or syndicate that is otherwise exempt from the provisions of §§
21 to 24, inclusive ....

SD Const. Art. XVII, §§ 21-22 (emphasis added).

I. Whether Plaintiffs may transfer the legal title of their farm
real estate to themselves as trustees for present and future
descendents as a class of beneficiaries under § 21, so long
as the trust is not a business trust.

The main issue in this case is whether the proposed trust is a
syndicate under § 21. A syndicate is a “limited partnership (LP), limited
liability partnership (LLP), business trust, or limited liability company (LLC)

organized under the laws of any state of the United States or any country.”

§ 21. Clearly, the proposed trust is not a LP, LLP, or LLC. The questions,
therefore, are (1) whether the definition of syndicate includes all trusts, and
if not (2) whether the proposed trust is a “business trust” as defined by
South Dakota law.

In order to answer these questions, the Court must utilize the rules

of constitutional construction:

First and foremost, the object of construing a constitution is to
give effect to the intent of the framers of the organic law and of
the people adopting it. The Supreme Court has the right to
construe a constitutional provision in accordance with what it
perceives to be its plain meaning. When words ina
constitutional provision are clear and unambiguous, they are to
be given their natural, usual meaning and are to be understood
in the sense in which they are popularly employed. If the
meaning of a term is unclear, the Court may look to the intent
of the drafting body.
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Poppen v. Walker, 520 NW2d 238, 242 (SD 1994) (citations omitted)

{emphasis added).

The first question is whether the definition of syndicate includes any
trust besides a business trust. This Court holds that § 21 clearly and
unambiguously prohibits only a business trust. If § 21 prohibited all
trusts, the term “business trust” would be repetitive and meaningless. See

South Dakota Auto Club, Inc. v. Volk, 305 NW2d 693, 696 (SD 1981)

(Court construing constitutional section must give effect to all provisions).

Because the definition of syndicate includes only a business trust,
the second question is whether the proposed trust is, in fact, a business
trust.

The term "business trust" ... shall mean an unincorporated
business association of the type which at common law was
known as a "common-law trust," “business trust," or
"Massachusetts trust,” created by a trust instrument
commonly known as a declaration of trust under which
Property is held, invested, and reinvested by trustees for the
benefit and profit of such persons as are or may become the
holders of transferable certificates evidencing beneficial interests
in the trust estate.

SDCL 47-14-1 (emphasis added).

The main difference between business trusts and ordinary trusts is
the purpose. “Business trusts differ from ordinary trusts in that the
primary purpose of a ...business trust is to conduct a business for profit,
while the object of the traditional trust is to hold and conserve particular
property, and its powers are incidental to this purpose.” 13 AmJur2d

Business Trusts § 8 (1964).

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Another difference between an ordinary trust and a business trust is
transferability of interest. According to the definition of a business trust,
all beneficiaries hold transferable certificates.6 SDCL 47-14-1. On the
other hand, an ordinary trust may prohibit the beneficiaries from
transferring their interests. SDCL 55-1-16.

After examining these characteristics, the Court holds that the
proposed trust would not be a business trust. First, the trust would not be
set up to conduct business for a profit, as is the purpose of a business
trust. The main purpose of the proposed trust, according to Plaintiffs, is to
maintain the property for posterity and prevent it from being divided up
among descendants.” (T. 26-27). Plaintiffs plan to rent out the property
through the trust and use the rental income to maintain the buildings and
the cemetery on the property. (T. 24-26, 28-29). Although the leftover
rental income will be distributed to the beneficiaries, this consequential
profit is not the main purpose of the trust.

Second, in addition to having a non-business purpose, the trust will
apparently not grant free transferability of interest to the beneficiaries.
According to Plaintiffs, they intend to “transfer the real estate to the Knittel
Homestead Trust with themselves as trustees and original beneficiaries

followed by their heirs as a class.” (Plaintiff's Brief at 10). According to this

° These certificates have been likened to shares of a corporation. 13 AmJur2d Business
Trusts § 22.

* Of course, Plaintiffs are additionally looking to avoid estate taxes. (Complaint { 22).

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plan, the beneficial shares are limited to Plaintiffs and their heirs. The
beneficiaries cannot freely transfer their interests as in a business trust.
Indeed, one of the stated purposes of the trust is to avoid breakup of the
land among the descendants. (Complaint 10).

Additionally, § 21 was not intended to foreclose the type of family
trust proposed by Plaintiffs. Both parties agree that the amendments
which created §§ 21 and 22 were designed to prohibit large corporations
and non-family farm entities from owning farmland. Supporters of §§ 21
and 22 warned voters that independent producers will have market access
problems if pitted against the unfair commercial advantage of big business.
(1998 Ballot Question Pamphlet “Pro” Statement). In addition, supporters
cautioned that large corporations will readily sacrifice the environment to
profit. Id. Moreover, §§ 21 and 22 were an attempt to stop the decline in
the family farmer way of life. Id. Overall, 8§ 21 and 22 were meant to
“reaffirm South Dakota’s commitment to family agriculture ... [and] prevent
large, non-family farm corporations from using unfair, anti-competitive
advantages to turn independent family farmers and ranchers into a new
generation of sharecroppers.” Id.

These statements make it clear that §§ 21 and 22 were designed to
protect the environment, maintain the rural way of life, and help family
farmers compete in the marketplace. The Court has been directed to no

authority that these sections were designed to foreclose a family from

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putting the family homestead in trust to avoid estate taxes and breakup of
the estate by descendants.

In fact, the proposed trust would serve the original purposes of §§ 21
and 22. By renting out the land and using the profits to maintain the
homestead, the trust would assure that the land will be productive for
many years to come. In addition, given the sentimental value Plaintiffs feel
for the homestead, it is unlikely they will allow their leassee to
environmentally abuse the land. Finally, by making land available to rent
by small farmers, the trust maintains the rural way of life.

In summary, § 21 does not prohibit an ordinary trust, only a
business trust. The trust proposed by Plaintiffs, therefore, will not violate §
21 if itis not a business trust. The trust will not be a business trust if it is
not organized to conduct business for a profit and disallows free
transferability of interest by the beneficiaries.8

Il. Whether Plaintiffs as tenants in common may own the
farm real estate and organize as a general partnership to
rent the land to a farmer.

Section 21 clearly allows general partnerships unless nonfamily farm

syndicates are partners. Therefore, Plaintiffs may own the farm real estate

as tenants in common and organize as a general partnership to rent land to

8 Although it is not clear from their brief, Plaintiffs’ seem to be asking the Court to also
decide whether the proposed trust would fit the definition of a family farm syndicate in §
22(1). However, the enumerated items in § 22 are exemptions from § 21. Because the
proposed trust does not fit the definition of a corporation or syndicate in § 21, it is
automatically exempted from § 21. Therefore, the Court need not address the exemption
in § 22(1).
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a farmer, provided that no nonfamily farm syndicates or nonfamily farm
corporations are partners.

ll. Whether Plaintiffs may transfer the legal title of their
farm real estate to a state or nationally chartered bank to
administer the trust.

Article XVII, § 22(12) expressly allows a state or nationally chartered
bank to act as trustee of farmland for a beneficiary, so long as the
beneficiary does not fall within the definition of a corporation or syndicate
in § 21. Therefore, Plaintiffs may transfer the legal title of the land toa
State or nationally chartered bank in trust so long as no beneficiaries fit
within the definition of a corporation or syndicate under § 21.

Conclusion

The merger issue presented by Plaintiffs does not meet the
jurisdictional prerequisites for declaratory judgment and will not be
addressed,

Article XVII § 21 does not prohibit an erdinary trust, only a business
trust. The trust proposed by Plaintiffs, therefore, will not violate § 21 ifitis
not a business trust. The trust will not be a business trust if it is not
organized to conduct business for a profit and disallows free transferability
of interest by the beneficiaries.

Plaintiffs may own the farm real estate as tenants in common and
organize as a general partnership to rent land to a farmer under § 21,
provided that no nonfamily farm syndicates or nonfamily farm corporations

are partners. Plaintiffs may transfer the legal title of the land to a state or

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